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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                               FRANKFORT DIVISION


 BRIAN SPENCER, individually and on behalf of               Civil Action No. 3:22-cv-00021-GFVT
 all others similarly situated,

                        Plaintiffs,

         v.

 CHARTER FOODS, INC., and CHARTER
 CENTRAL, LLC; and DOES 1 to 25.

                        Defendants.


                                  NOTICE OF SETTLEMENT

       Plaintiff Brian Spencer, individually and on behalf of all others similarly situated, hereby

advises this Honorable Court that he has reached an agreement in principle with Defendants

Charter Foods, Inc., and Charter Central, LLC. The parties are finalizing settlement documents

and expect to file a stipulation of dismissal within thirty days.

Dated: November 10, 2022                           Respectfully Submitted,

                                                     /s/ Jordan T. Porter
                                                    Jordan T. Porter
                                                    jordan@nshmlaw.com
                                                    NYE, STIRLING, HALE,MILLER, AND SWEET,
                                                    LLP
                                                    33 West Mission Street, Suite 201
                                                    Santa Barbara, California, 93101
                                                    Phone: (805) 963-2345

                                                    Attorneys for Plaintiff
Case: 3:22-cv-00021-GFVT          Doc #: 19      Filed: 11/10/22       Page: 2 of 2 - Page ID#: 78




                                 CERTIFICATE OF SERVICE

       I, Jordan T. Porter, hereby certify that the foregoing document was filed through the ECF

system and will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to non-registered participants this 10th day

of November, 2022.


                                                /s/ Jordan T. Porter
                                                 Jordan T. Porter




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